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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

NICHOLE LEIB, KEVIN

BROKENSHIRE, and DIANE
WEIGLEY, individually and on behalf Case No.
of all others similarly situated,

CLASS ACTION COMPLAINT
Plaintiffs,

DEMAND FOR JURY TRIAL
Vv.

GEISINGER HEALTH and
EVANGELICAL COMMUNITY
HOSPITAL,

Defendants.

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Plaintiffs Nichole Leib, Kevin Brokenshire, and Diane Weigley
(“Plaintiffs”), individually and on behalf of a class of similarly situated individuals,
bring this action for damages and injunctive relief under the antitrust laws of the
United States and the laws of the Commonwealth of Pennsylvania against
Geisinger Health (“Geisinger”) and Evangelical Community Hospital
(“Evangelical”) (collectively, “Defendants”).

I. SUMMARY OF THE ACTION

1. This class action challenges an illegal agreement between two
competitors, Geisinger and Evangelical, not to recruit (or “poach’’) each other’s
physicians, nurses, psychologists, therapists, and other healthcare professionals
(“Healthcare Workers”) (the “No-Poach Agreement”).

2. The No-Poach Agreement covered Defendants’ Healthcare Workers
in a region in central Pennsylvania that includes Union, Snyder, Northumberland,
Montour, Lycoming, and Columbia counties, and the cities of Danville and
Lewisburg, where Geisinger Medical Center and Evangelical are headquartered,
respectively (“Central Pennsylvania’). The following map depicts the relevant

Central Pennsylvania geographic region:
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Hospitals in Central Pennsylvania

Lycoming

Bucktail -®

Jersey Shore Muncy Valley

Williamsport

Hospital

@ Geisinger

@ Evangelical
Shamokin St. Luke's- Miners @ vpmc
Northumberland @ Other

ch., Norway (LVHN)

Sch., Jackson (LVHN)

l 1 } 30 mi . | **
Notes:
a) Hospitals are sized on number of discharges. yf |

b) Discharges exclude psychiatry and drug rehabilitation discharges. | |
Normal newborn discharges are also excluded to avoid double counting with the mother. re

c) The GMC marker size reflects combined discharges for GMC and Shamokin Acute Care Hospital
The Shamokin marker indicates only the location of the hospital, not its number of discharges.

d) Hospitals indicated as Other do not share ownership with one another. ' s t—__f _4_4_

Source: Complaint | 47, United States v. Geisinger Health, et al., No. 4:20-cv-
01383-MWB, ECF No. 1 (M.D. Pa. Aug. 5, 2020) (“DOJ Compl.”).

3. This No-Poach Agreement was intended to, and did, reduce
competition for Healthcare Workers in Central Pennsylvania and, as a result,
suppressed the job mobility and wages of Plaintiffs and the members of the
proposed Class (defined below) below the levels that would have prevailed but for

the illegal No-Poach Agreement.
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4. The Department of Justice (“DOJ”) has recently issued the following
guidance about the anticompetitive effects of no-poach agreements like the one at
issue in this case: “When companies agree not to hire or recruit one another’s
employees, they are agreeing not to compete for those employees’ labor. Robbing
employees of labor market competition deprives them of job opportunities,
information, and the ability to use competing offers to negotiate better terms of
employment. Under the antitrust laws, the same rules apply when employers
compete for talent in labor markets as when they compete to sell goods and
services.””!

5. Geisinger and Evangelical reached their unlawful horizontal
agreement at the highest levels of their organizations, through secretive verbal
exchanges that were later confirmed by emails, which they agreed to conceal from
outsiders, their respective employees who make up the proposed Class, and the
public. As described below, Defendants’ senior executives periodically reaffirmed,
monitored, and policed the No-Poach Agreement.

6. The No-Poach Agreement began by May 2015, likely existed earlier

than May 2015, and continued until at least August 5, 2020, when the DOJ brought

' See No-Poach Approach, Dep’t of Justice Antitrust Div. (Sept. 30, 201)
https://www.justice.gov/atr/division-operations/division-update-spring-2 19/no-
poach-approach (last visited Feb. 1, 2021).
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a civil antitrust action to enjoin Geisinger’s partial acquisition of Evangelical. See
DOJ Compl.

7. The DOJ Complaint alleges that Geisinger’s proposed partial
acquisition of Evangelical would fundamentally reduce competition for healthcare
services and raise the likelihood of continued unlawful coordination between
Defendants. Jd. | 6. The DOJ complaint alleges a history of collusion between
Defendants—that Geisinger and Evangelical have a history of “picking and
choosing when to compete with each other”—including that Defendants’ senior
executives entered into the No-Poach Agreement that is the focus of this case. Id.
q§ 40-42.

8. Geisinger and Evangelical took affirmative steps to conceal their
unlawful No-Poach Agreement from Plaintiffs, the Class, and the general public.
For example, at one time during the class period on Geisinger’s website, it
advertised: “For your hard work, you’ll be rewarded with a competitive salary and
a comprehensive benefits package, including health insurance, compensated
vacation time and holidays, a 401(k) plan and more.” It now states that: “Our
competitive compensation and benefits package helps you and your loved ones
092

stay healthy, meet your financial goals and thrive professionally and personally.

Similarly, Evangelical’s website advertises, “Great benefits and competitive salary

2 “Benefits,” Geisinger Health, https://www.geisingerjobs.org/geisinger-benefits
(last visited Feb. 1, 2021).
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with partnership track.”? Defendants did not disclose on their respective websites
(or anywhere else) that they had an agreement not to compete for each other’s
employees. Defendants’ salaries were not “competitive” because they were not
competing with each of their main sources of competition for labor—namely, each
other—and thus were able to pay less-than-competitive wages to their Healthcare
Workers.

9. Geisinger and Evangelical monitored each other’s compliance with
the unlawful No-Poach Agreement and communicated regarding deviations from it
in order to enforce compliance. For instance, after learning that Geisinger
potentially took actions contrary to the No-Poach Agreement by recruiting nurses,
Evangelical’s CEO wrote to her counterpart at Geisinger, asking, ““Can you please
ask that this stop[?] Very counter to what we are trying to accomplish.” DOJ
Compl. {| 42. Upon receiving this message, the Geisinger executive forwarded the
email to Geisinger’s Vice President of Talent Acquisition, instructing her to “ask
your staff to stop this activity with Evangelical.” Jd.

10. The No-Poach Agreement was made and enforced privately,
confidentially, and at the highest levels of the organizations, and thus, Geisinger

and Evangelical were successfully able to conceal the No-Poach Agreement from

3 “Meaningful relationships: It’s who we are.” Evangelical Community Hospital,
https://www.evanhospital.com/data/uploads/contentblock/Careers-radiology.pdf
(last visited Feb. 1, 2021).
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Plaintiffs and the members of the Class. But for the DOJ’s investigation of a
proposed acquisition between the Defendants, and the resulting publication of the
DOJ Complaint exposing the No-Poach Agreement, the existence of the
anticompetitive No-Poach Agreement might have remained permanently hidden.
11. Ultimately, the No-Poach Agreement reduced competition for
Healthcare Workers and, as a result, it reduced Plaintiffs’ job mobility and enabled
Defendants to pay their employees, including members of the Class, less than they
would have been paid absent the No-Poach Agreement. The No-Poach Agreement
is a per se unlawful restraint of trade under the federal antitrust laws, violated
Pennsylvania law, and injured Plaintiffs and the members of the Class.

Hl. JURISDICTION AND VENUE

12. Plaintiffs bring this action to recover treble damages, costs of suit, and
reasonable attorneys’ fees, arising from Geisinger’s and Evangelical’s violations of
Section 1 of the Sherman Act, 15 U.S.C. § 1, and Pennsylvania’s Unfair Trade
Practices and Consumer Protection Law, 73 P.S. §§ 201-1-201-9.

13. The Court has subject matter jurisdiction pursuant to Sections 4 and
16 of the Clayton Act, 15 U.S.C. §§ 15 and 26, and 28 U.S.C. §§ 1331, 1337, and
1367.

14. Venue is proper in this judicial district pursuant to Section 12 of the

Clayton Act, 15 U.S.C. § 22, and 28 U.S.C. § 1391(b), (c), and (d) because a
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substantial part of the events giving rise to Plaintiffs’ claims occurred in this
District, a substantial portion of the affected interstate trade and commerce was
carried out in this District, and both Geisinger and Evangelical are headquartered
in this District.

TI. THE PARTIES

15. Plaintiff Nichole Leib is a citizen and resident of the state of
Pennsylvania. Ms. Leib has worked as a registered nurse at Geisinger Medical
Center in Danville, Pennsylvania since July 2011 and worked in the operating
room since April 2014. Ms. Lieb was injured in her business or property by reason
of the violation alleged herein.

16. Plaintiff Kevin Brokenshire is a citizen and resident of the state of
Pennsylvania. Mr. Brokenshire worked as a registered nurse in the operating room
at Geisinger Medical Center in Danville, Pennsylvania, from 2008 to March 2018.
Mr. Brokenshire was injured in his business or property by reason of the violation
alleged herein.

17. Plaintiff Diane Weigley is a citizen and resident of the state of
Georgia. Ms. Weigley worked as a registered nurse at Evangelical Community
Hospital in Lewisburg, Pennsylvania, from March 2014 to August 2017. Ms.
Weigley was injured in her business or property by reason of the violation alleged

herein.
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18. Defendant Geisinger is the largest health system in Central
Pennsylvania. It is an integrated healthcare provider of hospital and physician
services headquartered in Danville, Pennsylvania. Geisinger employs
approximately 32,000 employees, including 1,800 physicians and 5,000 nurses.
Geisinger Medical Center, located in Danville, Pennsylvania, is Geisinger’s
flagship hospital. It is licensed to accommodate 574 overnight patients. Geisinger
operates three other hospitals in Central Pennsylvania: Geisinger Shamokin,
Geisinger Jersey Shore, and Geisinger Bloomsburg. Geisinger also operates urgent
care centers and other outpatient facilities in Pennsylvania.

19. Geisinger has a history of acquiring community hospitals in
Pennsylvania. Geisinger acquired six hospitals in Pennsylvania from 2012 to 2017.
Three of the four hospitals that Geisinger owns in Central Pennsylvania—
Shamokin, Jersey Shore, and Bloomsburg—were formerly independent hospitals
and two of those hospitals were the subject of previous antitrust challenges by the
government.

20. Defendant Evangelical is the largest independent community hospital
in Central Pennsylvania and is headquartered in Lewisburg, Pennsylvania.
Evangelical employs approximately 1,800 employees, including approximately
170 physicians and 400 nurses. The hospital is licensed to accommodate 132

overnight patients. Evangelical also owns numerous physician practices in Central
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Pennsylvania and operates an urgent care center and several other outpatient
facilities.

21. Defendants acted as the principals of or agents for the unnamed co-
conspirators with respect to the acts, violations, and common course of conduct
alleged herein.

22. Various persons, partnerships, sole proprietors, firms, corporations
and individuals not named as defendants in this lawsuit, and individuals, the
identities of which are presently unknown, have participated as co-conspirators
with Defendants in the offenses alleged in this Complaint and have performed acts
and made statements in furtherance of the No-Poach Agreement and other
anticompetitive conduct.

23. When this Complaint refers to any act, deed or transaction of any
corporation or limited liability entity, the allegation means that the corporation or
limited liability entity acted by or through its officers, directors, agents, employees
or representatives while they were actively engaged in the management, direction,

or of the corporation’s or limited liability entity’s business.
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IV. FACTUAL ALLEGATIONS
A. Trade and Commerce

24. During the Class Period (defined below), Geisinger and Evangelical
employed members of the proposed Class in Pennsylvania, including in this
District.

25. The No-Poach Agreement has substantially affected interstate
commerce throughout Pennsylvania and the United States and has caused antitrust
injury throughout Pennsylvania and the United States.

B. Geisinger and Evangelical Dominate Healthcare Services in
Central Pennsylvania

26. Geisinger is the largest health system in Central Pennsylvania, and
Evangelical is the largest independent community hospital in Central
Pennsylvania. No other company offers the scope of services and resources that
Geisinger and Evangelical provide in Central Pennsylvania, and Defendants are the
dominant employers of Healthcare Workers in Central Pennsylvania.

27. For example, Geisinger and Evangelical both provide inpatient,
general acute care services to patients in Central Pennsylvania. Geisinger accounts
for approximately 55 percent and Evangelical accounts for approximately 17
percent of inpatient general acute-care services provided in Central Pennsylvania

for a total of 72 percent of that market. Defendants’ respective market shares for

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many healthcare services are consistent with their market share for inpatient
general acute care services.

28. Consistent with Defendants’ dominance in providing healthcare
services in Central Pennsylvania, Defendants are also the dominant employers of
Healthcare Workers in Central Pennsylvania. Together, during the proposed Class
Period, Defendants have employed approximately 70 to 75 percent of hospital
Healthcare Workers in Central Pennsylvania. Defendants have also employed a
dominant share of non-hospital Healthcare Workers in Central Pennsylvania.

29. Geisinger and Evangelical both offer a wide range of medical care and
support to patients across a range of specialties, including orthopedics, women’s
health, surgical care, diabetes care, pain medicine, physical therapy, and primary
care, among other areas. Indeed, Geisinger and Evangelical are aware that they
compete to attract patients. Geisinger and Evangelical “care for the same people
and populations[,]|” according to a Geisinger Health Plan executive. “[I]f you don’t
get your care here [at Evangelical], you get it there [at Geisinger][,]’”” Evangelical’s
CEO explained in an interview. DOJ Compl. { 1.

30. The competition between Geisinger and Evangelical to attract patients
is reflected in their capital investment plans. The competition affects the capital
investments each decides to make when engaging in business planning. When

Evangelical’s CEO was justifying her recommendation of construction of a new

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orthopedic facility to Evangelical’s board of directors in 2016, for example, she
explained that Evangelical was “vulnerable to GMC [Geisinger Medical Center] in
orthopedics.” DOJ Compl. { 19. Similarly, Geisinger cited Evangelical’s
competitive activities in considering capital expenditures for certain facility
improvements in 2018.

31. Because Geisinger and Evangelical are direct competitors in the
provision of healthcare services in Central Pennsylvania, they would also
ordinarily compete directly for the employment of Healthcare Workers. One
important respect in which Defendants would have competed with each other
would be through soliciting and/or hiring each other’s employees. Because of
Defendants’ dominance as providers of healthcare to patients in Central
Pennsylvania, Defendants are also the dominant employers of Healthcare Workers
in Central Pennsylvania.

32. Consequently, for those Healthcare Workers looking to work in
healthcare in Central Pennsylvania, Geisinger and Evangelical are the largest and
most important employers. Because Geisinger and Evangelical would vigorously
compete for each other’s employees in the absence of the No-Poach Agreement,
such competition would enhance more widespread discovery of salary information,

increase job mobility and, as a result, increase the pay for all of Defendants’

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Healthcare Workers. Consequently, the reduction in competition through the No-
Poach Agreement has broadly injured Plaintiffs and members of the Class.

C. The Market for the Services of Healthcare Workers in Central
Pennsylvania

33. The No-Poach Agreement is per se illegal under the federal antitrust
laws, and thus, there is no requirement to define the relevant product or geographic
markets. As the DOJ made clear in guidance it issued in 2016: “Naked wage-fixing
or no-poaching agreements among employers, whether entered into directly or
through a third-party intermediary, are per se illegal under the antitrust laws.’ But,
to the extent a relevant market need be defined for any reason, it is for the services
of Healthcare Workers in the Central Pennsylvania region.

34. Healthcare Workers have specialized training and knowledge,
including specialized schooling, advanced academic degrees, specialized
occupational skills and knowledge, licensing and certification requirements, and
specialized on-the-job training and experience.

35. Defendants view Healthcare Workers as possessing important skills
and experience that cannot readily be found in employees in other professional or
occupational fields. One reason that Defendants entered into the illegal No-Poach

Agreement was that retaining these Healthcare Workers would require increasing

* Antitrust Guidance for Human Resources Professionals at 3, Dep’t of Justice
Antitrust Div. and Fed. Trade Comm’n (Oct. 2016) .
https://www.justice. gov/atr/file/9035 1 1/download (last visited Feb. 1, 2021).

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financial retention incentives in a competitive market for Healthcare Workers’
services. Conversely, limiting a primary source of competition for Healthcare
Workers’ services via a No-Poach Agreement allowed Defendants to pay lower
wages to their Healthcare Workers than they would have paid absent the No-Poach
Agreement.

36. Because of the specialized training, knowledge, and skills, Healthcare
Workers are more valuable to employers in the healthcare industry. Healthcare
Workers would not view jobs in other professions or fields to be an adequate
economic substitute for their jobs as Healthcare Workers. Indeed, because of the
investments in education, certification, licensing, and other professional
requirement and experience, it is expensive and difficult to become a Healthcare
Worker, and Healthcare Workers cannot readily capitalize on those investments in
other industries. Further, healthcare employers do not see employees from other
industries as substitutes for Healthcare Workers.

37. Defendants operate the dominant and most prominent healthcare
facilities in Central Pennsylvania, and they are the dominant employers of
Healthcare Workers in Central Pennsylvania. Additionally, given licensing,
marketing, and professional contacts developed over time, Healthcare Workers

tend to stay within a given geographic area for purposes of career development.

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38. Consequently, a small but substantial, non-transitory decrease or
stagnation in pay will not cause Healthcare Workers in Central Pennsylvania to
switch jobs outside of the healthcare industry in Central Pennsylvania. Nor would a
small but substantial, non-transitory decrease or stagnation in pay cause Healthcare
Workers in Central Pennsylvania to seek similar jobs outside of Central
Pennsylvania.

39. As alleged above, during the Class Period, Defendants collectively
employed a dominant share of Healthcare Workers in Central Pennsylvania and
thus together exercised monopsony power over the market for Healthcare Workers
in Central Pennsylvania during the Class Period.

D. Competition for Healthcare Workers in the Absence of a No-
Poach Agreement

40. Ina properly functioning and lawfully competitive labor market,
Geisinger and Evangelical would ordinarily aggressively compete for Healthcare
Workers by recruiting and hiring from each other. Indeed, Geisinger’s flagship
hospital (Geisinger Medical Center) and Evangelical are only approximately 17
miles apart. As a result—but for the No-Poach Agreement—Geisinger and
Evangelical would have been key competitors in the labor market for Healthcare
Workers, and competition between them would have driven up compensation for

Healthcare Workers.

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41. Competition for Healthcare Workers through recruiting and lateral
hiring has a significant impact on their compensation in several ways:

42. First, when healthcare providers become aware of attractive outside
opportunities for their Healthcare Workers, the threat of losing these employees to
a competitor encourages an employer to preemptively increase compensation to
increase morale and competitive positioning and ultimately to retain valuable
labor. If certain healthcare providers do not react to competition, their Healthcare
Workers may be receptive to recruiting by a rival employer or seek positions that
offer more generous compensation and benefits elsewhere.

43. Once a Healthcare Worker has received an offer from a rival
employer, retaining that employee may require a disruptive increase in
compensation for one individual. Increasing information and compensation for one
person will have more widespread salary effects across a company and market.
One such mechanism for this widespread effect is salary discovery, in which
information about competing salaries causes higher compensation even among
those employees not actively looking to switch employers. Another such
mechanism is “internal equity” within organizations, where employers endeavor to
maintain parity in pay levels across employees within the same categories as well
as maintain certain compensation relationships among employees across different

categories.

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44. Ina market untainted by their anticompetitive coordination, Geisinger
and Evangelical would have had an incentive to preempt lateral departures by
paying their Healthcare Workers well enough that they would become less likely to
seek or pursue outside opportunities. Preemptive retention measures would
therefore have led to increased compensation for all Healthcare Workers.

45. Second, the availability of desirable positions at competing employers
forces employers to reactively increase compensation to retain Healthcare Workers
who are likely to join a competitor. This can occur both when a particular
Healthcare Worker or group of Healthcare Workers becomes interested in
switching employers and the current employer responds by offering a
compensation increase to retain them, or when an employer responds to overall
attrition rates among its Healthcare Workers by increasing compensation levels. In
the former scenario, even a targeted increase designed to retain specific Healthcare
Workers will put upward pressure on the entire organization’s compensation
structure.

46. The positive compensation effects of hiring Healthcare Workers from
competitors are not limited to the particular individuals who seek new employment
or to the particular individuals who would have pursued new positions but for the
No-Poach Agreement. Instead, the effects of a restraint in the labor market as a

result of a No-Poach Agreement (and the effects of suppressing recruiting and

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hiring pursuant to the No-Poach Agreement) commonly impact all individuals in
positions subject to the restraint.

47. Conversely, suppression of competition for cross-hiring and
recruitment serves as a drag on compensation that permeates throughout an
organization. The No-Poach Agreement enabled Geisinger and Evangelical to
target the impact of their coordination on the employees most likely to command
disruptive increases that, through processes of internal equity and salary discovery,
would have led to increases that would have benefited all their employees.

E. Geisinger and Evangelical’s Strategic Management of Their
Healthcare Workers’ Compensation Levels

48. Geisinger and Evangelical strategically managed their Healthcare
Workers’ internal compensation levels to achieve certain objectives, including to:

(a) Maximize both internal and external equity;

(b) Maintain approximate compensation parity among Healthcare
Workers within the same practices (e.g., Psychiatry, Hospital Medicine,
Emergency Medicine, Community Medicine, Nursing) and seniority
categories (e.g., those with two years or less experience, those with over two
years of experience);

(c) Maintain certain compensation relationships among Healthcare
Workers across different categories (for example, among physicians relative

to nurses or between the Psychiatry and Emergency Medicine practices);

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(d) Avoid discrimination on the basis of race and gender;

(e) Maintain high Healthcare Worker morale and productivity;
(f) Retain Healthcare Workers; and

(g) Attract new and talented Healthcare Workers.

49. To accomplish these objectives, Geisinger and Evangelical set internal
compensation levels for different Healthcare Workers categories that apply to all
such employees within those categories. Defendants also compared compensation
levels across different Healthcare Worker categories to ensure internal equity as
between categories. Geisinger and Evangelical also regularly analyze and update
their Healthcare Worker compensation structures in a process that involves the
senior executives who entered into, implemented, and enforced the No-Poach
Agreement.

50. While Geisinger and Evangelical sometimes engaged in negotiations
regarding compensation levels with individual Healthcare Workers, these
negotiations occurred from a starting point of the pre-existing and pre-determined
compensation level. The eventual compensation any particular Healthcare Worker
receives is either entirely determined by the preset level or is materially influenced
by it.

51. Thus, if operating under competitive and lawful conditions, Geisinger

and Evangelical would have recruited and hired Healthcare Workers from each

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other, driving the pay for all workers in those classifications up through the
mechanism of internal equity, in which employers endeavor to maintain parity
within the organization among workers of similar job categories, or to maintain
relative compensation relationships across job categories. Geisinger and
Evangelical both understood this during the Class Period and avoided paying their
Healthcare Workers more by entering into the No-Poach Agreement and by
agreeing not to compete for employees.

F. Geisinger and Evangelical Have a History of Coordination

52. Defendants have a history of choosing when to compete with each
other, which has deepened coordination at the expense of competition.
Specifically, Geisinger and Evangelical have historically cooperated and sought
out “wins” for both organizations at the expense of competition and their
employees. As Evangelical’s CEO described in an interview discussing

Geisinger’s proposed partial acquisition of Evangelical, “[T]here’s an economic

principle called co-opetition. And you can cooperate, and you can compete. And as

long as both sides find wins, it works.” DOJ Compl. § 27. Such statements
epitomize how these close competitors have behaved in the past: They have
coordinated their activities to “find wins” at the expense of robust competition. Id.

Geisinger and Evangelical’s Healthcare Workers have been on the losing end of

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this bargain as the No-Poach Agreement has suppressed competition for their labor
as well as their pay.

53. Furthermore, Evangelical has publicly stated that it already has
cooperative relationships with Geisinger, which confirms that they have exchanged
competitively sensitive information. In fact, as DOJ alleges in its Complaint
seeking to block Geisinger’s equity stake in Evangelical, which is based on
documentary evidence produced to the DOJ, Defendants have already shared
important competitive information as part of the proposed partial acquisition that
the DOJ seeks to enjoin. See DOJ Compl. J 38. Evangelical’s CEO sent her
counterpart at Geisinger a document detailing her thinking on Evangelical’s
strategic growth options in their discussions regarding joint ventures. Id.

54. The history and prevalence of the coordination between Geisinger and
Evangelical suggests that the No-Poach Agreement goes back many years.
Moreover, there may have been other, similar agreements in light of Geisinger’s
history of acquiring community hospitals in Pennsylvania. As alleged above,
Geisinger acquired six hospitals in Pennsylvania from 2012 to 2017. Shamokin,
Jersey Shore, and Bloomsburg—three of the four hospitals that Geisinger owns in
Central Pennsylvania—were formerly independent hospitals and two of those

hospitals were the subject of previous antitrust challenges by the government.

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55. Geisinger and Evangelical’s senior executives had “regular touch base
meetings” in which they discussed various topics, including their respective
strategic growth options. DOJ Compl. § 41. These meetings provided opportunities
to discuss, enter into, and enforce the No-Poach Agreement.

56. The DOJ Complaint also notes as further evidence of cooperation the
fact that Geisinger shared confidential information with Evangelical, including the
terms of a physician loan forgiveness agreement, which Geisinger uses as an
important tool to recruit physicians. See DOJ Compl. ¢ 41. Such information
sharing is further evidence of the Defendants acting as conspirators and
cooperators, rather than as competitors for the services of Healthcare Workers.

57. Based on the foregoing facts, and others as more fully set forth in the
DOJ Complaint, the DOJ is seeking to block Geisinger’s proposed equity stake in
Evangelical because it will substantially lessen competition and lead to even more
collusion between the entities in the future.

G. Geisinger and Evangelical’s No-Poach Agreement

58. While Geisinger and Evangelical are purportedly close competitors in
Central Pennsylvania, they often coordinated their conduct to their collective
benefit and to Class members’ collective injury. Evangelical’s CEO’s view of “co-
opetition” served as a purported justification for anticompetitive behavior (see,

supra, 52). Defendants’ acts of coordination, which only benefit themselves,

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reinforce their collective dominant position for inpatient general acute services in
Central Pennsylvania as well as provide an unfair advantage to them by artificially
reducing the amounts that each system has to pay its employees through their No-
Poach Agreement.

59. With a backdrop of the cooperative relationship between supposed
competitors, Geisinger and Evangelical’s senior executives entered into the No-
Poach Agreement—an agreement not to recruit each other’s Healthcare Workers.
They reached this understanding orally, which various emails confirm. A few
illustrative examples of Defendants’ coordination in furtherance of the No-Poach
Agreement and/or their illegal “co-opetitive” relationship are as follows:

60. After learning that Geisinger was recruiting nurses through Facebook
which might be employed by Evangelical, Evangelical’s CEO emailed her
counterpart at Geisinger, stating, “Can you please ask that this stop[?] Very
counter to what we are trying to accomplish.” DOJ Compl. { 42. Upon receiving
the email, the Geisinger senior executive forwarded it to Geisinger’s Vice
President of Talent Acquisition, instructing her to “ask your staff to stop this
activity with Evangelical.” Jd.

61. The foregoing exchange also demonstrates that Geisinger and
Evangelical monitored their No-Poach Agreement, thereby ensuring that it would

be effective and have its desired impact: lessening competition in the market for

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Healthcare Workers. Moreover, the DOJ Complaint indicates that it has further
documentary evidence of the unlawful No-Poach agreement and other conduct
suggesting coordination between the purported competitors.

62. As alleged above, Defendants’ coordination has taken various forms
and comes at the expense of greater competition for Healthcare Workers. Geisinger
and Evangelical’s senior executives even monitored each other’s adherence to the
No-Poach Agreement and have pointed out deviations to enforce compliance
therewith. Geisinger and Evangelical’s No-Poach Agreement effectively and
illegally insulated their organizations from competition for Healthcare Workers.

H. Geisinger and Evangelical Concealed the No-Poach Agreement
from the Public and the Proposed Class

63. Geisinger and Evangelical actively concealed their illegal No-Poach
Agreement from the public and the proposed Class. As alleged above, it was the
practice of both Defendants to advertise “competitive salaries” and not to disclose
the existence of the No-Poach Agreement to their Healthcare Workers or to the
public. As further alleged above, however, Defendants would monitor and enforce
each other’s compliance with the No Poach Agreement.

64. Additionally, when one Defendant’s Healthcare Worker attempted to
apply to the other Defendant, executives at both organizations often engaged in
secret back-channel communications concerning the applicant as a means of

enforcing and abiding by the No-Poach Agreement—without the applicant’s

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knowledge. Further, Geisinger and Evangelical entered into the No-Poach
Agreement orally (the existence of which various emails confirm), affirmatively
avoiding memorializing the Agreement in a written agreement despite its broad
application and multi-year duration, opting instead to train new executives about
the Agreement’s existence on a primarily verbal basis. The reason for this practice
was to avoid alerting the public and the proposed Class of the No-Poach
Agreement’s existence and, thus, to deter potential investigations, litigation, and
the perpetuate the Agreement’s illegal effects.

65. But for discovery made public from the DOJ Complaint, Plaintiffs
would have remained unaware that the No-Poach Agreement existed. Because of
the secrecy of the No-Poach Agreement and Geisinger and Evangelical’s acts of
concealment, Plaintiffs and the Class did not and could not have known that
Geisinger and Evangelical were engaged in an illegal conspiracy to suppress
Healthcare Worker wages by restraining recruitment and hiring of one another’s
Healthcare Workers before August 5, 2020, when the DOJ filed the Complaint
against Geisinger and Evangelical. Further, the secrecy of the No-Poach
Agreement and Defendants’ acts of concealment would have thwarted any

reasonable effort to discover the No-Poach Agreement before this date.

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V. CLASS ACTION ALLEGATIONS

66. Plaintiffs bring this action on behalf of themselves and all others
similarly situated pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and
23(b)(3). The Class is defined as:

All natural persons who worked at Geisinger or Evangelical as

Healthcare Workers from May 2015, through such time as

Defendants’ anticompetitive conduct ceased (“Class Period”).

Excluded from the Class are members of Defendants’ boards of

directors, Defendants’ senior executives who entered into and/or

enforced the No-Poach Agreement, and any and all judges and

chambers’ staff assigned to hear or adjudicate any aspect of this

litigation.

67. Plaintiffs do not yet know the exact size of the Class because such
information is in the exclusive control of Geisinger and Evangelical. Based upon
publically available information, there are at least thousands of Class members.
Joinder of all members of the Class is therefore impracticable.

68. Class members are easily ascertainable based on, among other things,
the employment records of the Defendants.

69. The are many questions of law and fact common to the Class as a
whole, including:

(a) Whether, when, and how Geisinger and Evangelical entered

into the No-Poach Agreement;

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(b) Whether Geisinger and Evangelical concealed the existence of
the No-Poach Agreement from Plaintiffs and the members of the Class;
(c) Whether Geisinger and Evangelical’s conduct violated Section

1 of the Sherman Act;

(d) Whether the No-Poach Agreement is a per se violation of the

Sherman Act;

(e) Whether Geisinger and Evangelical violated Pennsylvania’s

Unfair Trade Practices and Consumer Protection Law, 73 P.S. §§ 201-1-201-

9;

(f) |Whether the No-Poach Agreement restrained trade, commerce,
or competition for Healthcare Workers between Geisinger and Evangelical;

(g) Whether Plaintiffs and the Class have suffered antitrust injury;
and

(h) the appropriate measure of damages.

70. These and other questions of law and fact are common to the Class
and predominate over any questions affecting only individual members of the
Class.

71. Plaintiffs’ claims are typical of the claims of the Class.

72. Plaintiffs will fairly and adequately represent the interests of, and

have no conflicts of interest with, the Class.

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73. Plaintiffs have retained counsel experienced in antitrust and class
action litigation to represent themselves and the Class.

74. This class action is superior to the alternatives, if any, for the fair and
efficient adjudication of this controversy. Prosecution as a class action will
eliminate the possibility of repetitive litigation. There will be no material difficulty
in the management of this action as a class action. By contrast, prosecution of
separate actions by individual members of the Class would create the risk of
inconsistent or varying adjudications and be inefficient and burdensome to the
parties and the Court.

FIRST CLAIM FOR RELIEF
(Violation of the Sherman Act, 15 U.S.C. § 1)

75. Plaintiffs reallege and incorporate by reference each of the allegations
contained in the preceding paragraphs of this Complaint.

76. Geisinger and Evangelical entered into and engaged in the unlawful
horizontal No-Poach Agreement in restraint of the trade and commerce, described
above, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. The No-Poach
Agreement is a per se violation of Section 1 of the Sherman Act.

77. The acts done by Geisinger and Evangelical as part of, and in
furtherance of, their agreements, understandings, contracts, combinations or
conspiracies were authorized, ordered, or done by their respective senior

executives while actively engaged in the management of Defendants’ affairs.

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78. Defendants collectively possess monopsony power in the relevant
market, and through their No-Poach Agreement, harmed competition in the
relevant market.

79. The unlawful No-Poach Agreement had the following effects, among
others:

a. Competition between Geisinger and Evangelical for Healthcare

Workers was suppressed, restrained, or eliminated; and

b. Plaintiffs and members of the Class have received lower
compensation from Geisinger and Evangelical than they otherwise would
have received in the absence of the No-Poach Agreement and, as a result,
have been injured and have suffered damages in an amount according to
proof at trial.

80. Defendants’ No-Poach Agreement had no procompetitive benefits or
justifications. The No-Poach Agreement provided no efficiencies or other benefits
that would offset the substantial competitive harms described above.

81. Asadirect and proximate result of Defendants’ illegal No-Poach
Agreement, members of the Class have suffered injury and have been deprived of
the benefits of free and fair competition for their labor on the merits.

82. Accordingly, Plaintiffs and members of the Class seek three times

their damages caused by Defendants’ violation of Section 1 of the Sherman Act,

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the costs of bringing suit, reasonable attorneys’ fees, injunctive relief, and a
declaration that such agreement is unlawful.

SECOND CLAIM FOR RELIEF
(Violation of Pennsylvania’s Unfair Trade Practices and Consumer Protection
Law, 73 P.S. §§ 201-1-201-9.3)

83. Plaintiffs reallege and incorporate by reference each of the allegations
contained in the preceding paragraphs of this Complaint.

84. Geisinger and Evangelical engaged in unfair methods of competition
and unfair acts and practices in the conduct of trade or commerce described above
in violation of P.S. §§ 201-1-201-9.3.

85. Specifically, Geisinger and Evangelical engaged in the deceptive
practice of advertising “competitive salaries” even though they agreed not to
recruit each other’s Healthcare Workers, suppressing competition for them and
their pay.

86. Defendants’ No-Poach Agreement had the purpose and effect of: (a)
substantially eliminating competition between Geisinger and Evangelical for
Healthcare Workers in Central Pennsylvania, and (b) artificially suppressing the
compensation of Plaintiffs and the Class to levels below those that would be
present in a competitive market.

87. Asa direct and proximate result of Geisinger and Evangelical’s No-

Poach Agreement, Plaintiffs and members of the Class have suffered injury and

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have been deprived of the benefits of free and fair competition on the merits.

88. The unfair, deceptive, and unlawful No-Poach Agreement had the
following effects, among others:

(a) Competition between Geisinger and Evangelical for Healthcare

Workers was suppressed, restrained, or eliminated; and

(b) Plaintiffs and members of the Class have received lower
compensation from Geisinger and Evangelical than they otherwise would
have received in the absence of the No-Poach Agreement and, as a result,
have been injured and have suffered damages in an amount according to
proof at trial.

89. The acts done by Geisinger and Evangelical as part of, and in
furtherance of, their contracts, combinations, or conspiracies were authorized,
ordered, or done by their respective senior executives while actively engaged in the
management of Defendants’ affairs.

90. The No-Poach Agreement is a violation of 73 P.S. §§ 201-1-201-9.3.

91. Accordingly, Plaintiffs and members of the Class seek their damages
caused by Defendants’ violation of 73 P.S. §§ 201-1-201-9.3, the costs of bringing
suit, reasonable attorneys’ fees, injunctive relief, and a declaration that such

agreement is unlawful.

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VI. PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray that this Court enter judgment on their behalf

and that of the Class by adjudging and decreeing that:

A. — This action may be maintained as a class action, with Plaintiffs as the
designated Class representatives and their counsel as Class counsel;

B. Defendants engaged in a trust, contract, combination, or conspiracy in
violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and Pennsylvania’s
Unfair Trade Practices and Consumer Protection Law, 73 P.S. §§ 201-1-201-9.3,
and that Plaintiffs and the members of the Class have been damaged and injured in
their business as a result of this violation;

C. The alleged conduct be adjudged and decreed to be a per se violation
of Section 1 of the Sherman Act, 15 U.S.C. § 1, or in the alternative, a violation of
Section 1 of the Sherman Act, 15 U.S.C. § 1, under the rule of reason;

D. The alleged conduct be adjudged and decreed to be a violation of
Pennsylvania’s Unfair Trade Practices and Consumer Protection Law, 73 P.S. §§
201-1-201-9.32;

E. Plaintiffs and the members of the Class recover threefold the damages
determined to have been sustained by them as a result of the conduct of Geisinger
and Evangelical complained of herein and that judgment be entered against

Geisinger and Evangelical for the amount so determined;

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F. Judgment be entered against Geisinger and Evangelical in favor of
Plaintiffs and each member of the Class, for restitution and disgorgement of ill-
gotten gains as allowed by law and equity as determined to have been sustained by
them;

G. For prejudgment and post-judgment interest;

H. For equitable relief, including a judicial determination of the rights
and responsibilities of the parties;

I. For attorneys’ fees;

J. For costs of suit; and

K. _ For such other and further relief as the Court may deem just and
proper.

Vil. JURY DEMAND

Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a jury
trial for all claims and issues so triable.

Dated: February 3, 2021 /s/ Shanon Jude Carson

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